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                                                 October 15, 2020

 VIA CM/ECF

 The Honorable Nicholas G. Garaufis
 Senior United States District Judge
 United States District Court
 Eastern District of New York
 225 Cadman Plaza East
 Brooklyn, New York 11201

         Re:      United States v. OZ Africa Management GP, LLC, No. 1:16-cr-00515-NGG

 Dear Judge Garaufis:

         This letter is respectfully submitted on behalf of the victims represented by this law firm
 (the “Identified Victims”) and defendant OZ Africa Management GP, LLC (“OZ Africa” or
 “Defendant”) in response to the Court’s Order of earlier today requesting an update on the status
 of the settlement agreement between Defendant and the Identified Victims in light of the
 Government’s letter of Monday reporting on the final accounting of victim restitution claims and
 indicating that sentencing can now promptly move forward.

           The status of the settlement agreement between Defendant and the Identified Victims is
 that it is intact, and operative, and provided the Court at sentencing enters a final order of restitution
 consistent with the Government’s final accounting of victim restitution claims (under which OZ
 Africa will pay the additional $1,826,067.64 to other victims), the Settlement Agreement will be
 consummated.

        Finally, Defendant and the Identified Victims also agree with the Government that there
 remains no further barrier to an immediate sentencing of Defendant, and join the Government in
 requesting the very earliest sentencing date the Court can accommodate, including as early as
 tomorrow.




     AUSTIN    BEIJING     BOSTON   BRUSSELS     HONG KONG    LOS ANGELES   LONDON    NEW YORK      PALO ALTO
               SAN DIEGO    SAN FRANCISCO      SEATTLE   SHANGHAI   WASHINGTON, DC   WILMINGTON, DE
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 The Honorable Nicholas G. Garaufis
 October 15, 2020
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                                        Respectfully submitted,

                                        WILSON SONSINI GOODRICH & ROSATI
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                                        Counsel for the Identified Victims


 cc:   All Counsel of Record (via CM/ECF)
